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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
BLUE RIO LLC, and PETER FINE                               :
                                                           :      Civ. Action No. 7:17-cv-02015 (VB)
                                      Plaintiffs,          :
                                                           :
                       -against-                           :       NOTICE OF MOTION TO DISMISS
                                                           :
CITY OF MOUNT VERNON MAYOR                                 :
RICHARD THOMAS, in his individual and                      :
official capacities, MICHAEL GIANATASIO, :
and the CITY OF MOUNT VERNON,                              :        ORAL ARGUMENT REQUESTED
                                                           :
                                      Defendants.          :
                                                           :
----------------------------------------------------------X


                 PLEASE TAKE NOTICE that upon the annexed Affirmation of Jeffrey D.

Buss, Esq., dated April 28, 2017, together with the exhibits annexed thereto, and the

accompanying Memorandum of Law, the undersigned will move this Court, before the

Honorable Vincent Briccetti, United States District Judge for the Southern District of New York,

at the United States Courthouse, 300 Quarropas Street, White Plains, New York, 10601, at a date

and time to be determined by the Court, for an order dismissing the Plaintiffs’ Complaint in this

action, pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, with

prejudice, and for such further and other relief as the Court may deem just and proper.

                                                                Respectfully submitted,


Dated:      Yonkers, New York                             SMITH, BUSS & JACOBS LLP
            April 28, 2017
                                                          By:      /s/ Jeffrey D. Buss
                                                                   Jeffrey D. Buss
                                                                   Nancy Durand
                                                                   733 Yonkers Avenue, Suite 200
                                                                   Yonkers, New York 10704
                                                                   (914) 476-0600
                                                                   Attorneys for Defendants
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                         UNITED STATES DISTRICT COURT FOR THE

                              SOUTHERN DISTRICT OF NEW YORK

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BLUE RIO LLC, and PETER FINE                               :
                                                           :
                                      Plaintiffs,          :
                                                           :
                       -against-                           :   Civ. Action No. 7:17-cv-02015 (VB)
                                                           :
CITY OF MOUNT VERNON MAYOR                                 :
RICHARD THOMAS, in his individual and                      :          [PROPOSED] ORDER
official capacities, MICHAEL GIANATASIO, :
and the CITY OF MOUNT VERNON,                              :
                                                           :
                                      Defendants.          :
                                                           :
----------------------------------------------------------X


                       [PROPOSED] ORDER GRANTING MOTION TO DISMISS
        Upon consideration of the parties’ respective papers and arguments, Defendants’ Motion

to Dismiss Plaintiffs’ Complaint is hereby GRANTED in its entirety. Therefore, this action is

DISMISSED, with prejudice.


SO ORDERED.

Dated: This ____ day of                                             ________________________
________, 2017.                                                     Vincent L. Briccetti
                                                                    United States District Judge
